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                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TEXAS
                                      LUFKIN DIVISION


 UNITED STATES OF AMERICA                          §
                                                   §
                                                   §
 VS.                                               §           CASE NO. 9:11-CR-33(1)
                                                   §
                                                   §
 TERRY LEE LOVING                                  §


          FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
               BEFORE THE UNITED STATES MAGISTRATE JUDGE

        By order of the District Court, this matter is referred to the undersigned United States

 Magistrate Judge for administration of the guilty plea under Rule 11. Magistrate judges have the

 statutory authority to conduct a felony guilty plea proceeding as an “additional duty” pursuant to 28

 U.S.C. § 636(b)(3). United States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002).

        On December 1, 2011, this case came before the undersigned for entry of a guilty plea by the

 Defendant, Terry Lee Loving, to Counts One (1) and One hundred twenty-two (122) of the

 Indictment. Count One alleges that beginning in or about 2008 and continuing through May 2011,

 in the Eastern District of Texas, Terry Lee Loving and his co-defendants did knowingly and

 intentionally combine, conspire, confederate and agree with together with each other and with others

 unknown to the Grand Jury, to knowingly and intentionally manufacture 50 grams or more of a

 mixture or substance containing a detectable amount of methamphetamine, a Schedule II controlled

 substance, in violation of the laws of the United States, to wit 21 U.S.C. § 841(a)(1) prohibiting the

 manufacture of a mixture or substance containing a detectable amount of methamphetamine, a



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 Schedule II controlled substance, in violation of 21 U.S.C. § 846. Count One hundred twenty-two

 alleges that on October 22, 2010, the Defendant did knowingly and intentionally possess

 pseudoephedrine, a List 1 chemical, with intent to manufacture a controlled substance, or with

 knowledge or reasonable cause to believe that the listed chemical would be used for the unauthorized

 manufacture of a controlled substance, namely a mixture or substance containing a detectable

 amount of methamphetamine, in violation of 21 U.S.C. 841(c)(1) and (c)(2) (Possession of a List

 1 Chemical).

        The Defendant, Terry Lee Loving, entered a plea of guilty to Counts One and One hundred

 twenty-two of the Indictment into the record at the hearing. After conducting the proceeding in the

 form and manner prescribed by Federal Rule of Criminal Procedure 11, the undersigned finds:

        a.      That the Defendant, after consultation with his attorney, has knowingly, freely and

 voluntarily consented to the administration of the guilty plea in this case by a United States

 Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

 sentence by the District Court.

        b.      That the Defendant and the Government have entered into a plea agreement which

 was disclosed and addressed in open court, entered into the record, and placed under seal. The

 Defendant verified that he understood the terms of the plea agreement, agreed with the Government’s

 summary of the plea agreement, and acknowledged that it was his signature on the plea agreement.

 To the extent the plea agreement contains recommendations and requests pursuant to FED . R. CRIM .

 P. 11 (c)(1)(B), the court advised the Defendant that he has no right to withdraw the plea if the Court

 does not follow the particular recommendations or requests. To the extent that any or all of the terms

 of the plea agreement are pursuant to Rule 11(c)(1)(A) or (C), the undersigned advised the Defendant



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 that he will have the opportunity to withdraw his plea of guilty should the Court not follow those

 particular terms of the plea agreement.1

          c.        That the Defendant is fully competent and capable of entering an informed plea, that

 The Defendant is aware of the nature of the charges and the consequences of the plea, and that the

 plea of guilty is made freely, knowingly, and voluntarily. Upon addressing the Defendant personally

 in open court, the undersigned determines that the Defendant’s plea is knowing and voluntary and

 did not result from force, threats or promises (other than the promises set forth in the plea

 agreement). See FED . R. CRIM . P. 11(b)(2).

          d.        That the Defendant’s knowing and voluntary plea is supported by an independent

 factual basis establishing each of the essential elements of the offense and the Defendant realizes that

 his conduct falls within the definition of the crimes charged under 21 U.S.C. §§ 846 and 841(c)(2).

                                           STATEMENT OF REASONS

          As factual support for the Defendant’s guilty plea, the Government presented a factual basis.

 See Factual Basis and Stipulation. In support, the Government would prove that Terry Lee Loving

 is one and the same person charged in the Indictment and that the events described in the Indictment

 occurred in the Eastern District of Texas and elsewhere. The Government would also have proven,

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            “(3) Judicial Consideration of a Plea Agreement.
 (A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may accept the
 agreement, reject it, or defer a decision until the court has reviewed the presentence report.
 (B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise the defendant that
 the defendant has no right to withdraw the plea if the court does not follow the recommendation or request.
 (4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that to the extent
 the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will be included in the judgment.
 (5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type specified in Rule
 11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for good cause, in camera):
 (A) inform the parties that the court rejects the plea agreement;
 (B) advise the defendant personally that the court is not required to follow the plea agreement and give the defendant
 an opportunity to withdraw the plea; and
 (C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case less favorably
 toward the defendant than the plea agreement contemplated.” F ED . R. C RIM . P. 11(c)(3)-(5).

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 beyond a reasonable doubt, each and every essential element of the offense as alleged in Counts One

 and One hundred twenty-two of the Indictment through the testimony of witnesses, including expert

 witnesses, and admissible exhibits. In support of the Defendant’s plea, the undersigned incorporates

 the proffer of evidence described in detail in the factual basis and stipulation filed in support of the

 plea agreement, and the Defendant’s admissions made in open court in response to the undersigned’s

 further inquiry into the factual basis and stipulation.

        The Defendant agreed with and stipulated to the evidence presented in the factual basis.

 Counsel for the Defendant and the Government attested to the Defendant’s competency and

 capability to enter an informed plea of guilty. The Defendant agreed with the evidence presented

 by the Government and personally testified that he was entering his guilty plea knowingly, freely and

 voluntarily.

                                RECOMMENDED DISPOSITION

        IT IS THEREFORE the recommendation of the undersigned United States Magistrate

 Judge that the District Court accept the Guilty Plea of the Defendant which the undersigned

 determines to be supported by an independent factual basis establishing each of the essential

 elements of the offense charged in Counts One and One hundred twenty-two the Indictment. It is

 also recommended that the District Court defer accepting the plea agreement until the District Court

 has reviewed the presentence report. Accordingly, it is further recommended that the District Court

 finally adjudge the Defendant, Terry Lee Loving, guilty of the charged offenses under Title 21,

 United States Code, Sections 841(c)(2) and 846.

        The District Court should defer its decision to accept or reject the plea agreement until there

 has been an opportunity to review the presentence report. If the plea agreement is rejected and the

 Defendant still persists in the guilty plea, the disposition of the case may be less favorable to the


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 Defendant than that contemplated by the plea agreement. The Defendant is ordered to report to the

 United States Probation Department for the preparation of a presentence report. The Defendant has

 the right to allocute before the District Court before imposition of sentence.

                                           OBJECTIONS

        Objections must be: (1) specific, (2) in writing, and (3) served and filed within fourteen (14)

 days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 1(a),

 6(b), and 72(b). A party’s failure to object bars that party from: (1) entitlement to de novo review

 by a district judge of proposed findings and recommendations, see Rodriguez v. Bowen, 857 F.2d

 275, 276-77 (5th Cir. 1988), and (2) appellate review, except on grounds of plain error of

 unobjected-to factual findings and legal conclusions accepted by the district court, see Douglass v.

 United Servs. Auto. Ass’n., 79 F.3d 1415, 1417 (5th Cir. 1996) (en banc). The constitutional

 safeguards afforded by Congress and the courts require that, when a party takes advantage of his

 right to object to a magistrate’s findings or recommendation, a district judge must exercise its

 nondelegable authority by considering the actual evidence and not merely by reviewing and blindly

 adopting the magistrate’s report and recommendation. See Hernandez v. Estelle, 711 F.2d 619, 620

 (5th Cir. 1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th Cir. 1981) (per curiam).



        SIGNED this 1st day of December, 2011.




                                                        _________________________
                                                        Zack Hawthorn
                                                        United States Magistrate Judge




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